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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                    PLAINTIFF

v.                                      No. 4:04CR00281 JLH

NELSON MILLER; BERTRAM CASE MILLER;
MICHAEL DORSEY; and MELISSA HORNER                                                      DEFENDANTS


                                                ORDER

        Bertram Case “Casey” Miller has filed a motion for clarification. Document #133. That

motion requests that the Court explain the reason that it reconsidered the previous order severing

Casey Miller from the other defendants for trial and the reason for joining Casey Miller and Nelson

Miller for trial.

        When the order of severance was originally granted, the Court had little information about

the defenses in the case. During the three-day span of March 14 through 16, 2006, the Court held

three in camera hearings at which Casey Miller, Nelson Miller, and Melissa Horner presented

information pertinent to the severance issue. Some of that information was specific and detailed as

to the nature of the defense to be presented at trial. The fact that new information was provided to

the Court justified revisiting the order of severance. The specific, detailed information about the

nature of the defenses to be presented at trial convinced the Court that specific trial rights would be

jeopardized were all four defendants to be tried together. Were all four to be tried together, the Court

would be faced with the dilemma of either curtailing the defenses that some defendants would

present in order to protect the right to a fair trial of other defendants or allowing full presentation of

those defenses and thereby jeopardizing the rights of other defendants to exclude evidence that

would be unfairly prejudicial to them.
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       On the other hand, as between Nelson Miller and Casey Miller, no information was presented

to show that a joint trial would jeopardize the right of either defendant to fully present that

defendant’s defense, and no information was presented to show that either defendant’s right to a fair

trial would be jeopardized if the other defendant fully presented his case. No information was

presented that convinced the Court that the jury would be unable to compartmentalize the evidence.

The principal argument for severing Casey Miller from Nelson Miller was that most of the

information to be presented by the government will be aimed at Nelson Miller, and that Casey Miller

and his counsel will be forced to sit through a lengthy trial in which only a small portion of the

evidence will be directed at Casey Miller. The Court has seriously considered that argument and

concluded that it is not sufficient to warrant a severance of Casey Miller from Nelson Miller, which

could then result in three trials of a single criminal conspiracy.

       IT IS SO ORDERED this 3rd day of April, 2006.




                                               J. LEON HOLMES
                                               UNITED STATES DISTRICT JUDGE




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